Case 2:10-mj-00191-FBS Document3 Filed 04/27/10 Page 1 of 1 PagelD# 3
SR OE ae FR 8

UNITED STATES-PISTRICT COURT

 

Eastern Fite.) DISTRICT GF Virginia
IN OPEN COURT
UNITED STATES OF AMERICA

Apa py pe AIVER OF RULE 5 & 5.1 HEARINGS
(Complaint/Indictment)

 

 

 

 

 

 

 

 

 

, LER : US. DISTRICT COURT
CLER ee my CASE NUMBER: 2:10mj191
Andrew Warren
Defendant CHARGING DISTRICTS
ee CASE NUMBER:
] understand that charges are pending in the District of Columbia
alleging violation of _ 18 USC. 2242(2) & 7(9) and that I have been arrested in this district and

 

(Title and Section)

taken before a judge, who has informed me of the charge(s) and my rights to:

() retain counsel or request the assignment of counsel if | am unable to retain counsel;
(2) an identity hearing to determine whether I am the person named in the charges;
3) a preliminary hearing (unless an indictment has been returned or information filed) to determine whether there is probable

cause to believe an offense has been committed by me, the hearing to be held in this district or the district of prosecution; and

(4) Request transfer of the proceedings to this district under Rule 20, Fed. R. Crim. P., in order to plead guilty.

I HEREBY WAIVE (GIVE UP) MY RIGHT TO A(N):
( 4 identity hearing
(_) preliminary hearing

(__ ) identity hearing but request a preliminary hearing be held in the prosecuting district and, therefore, consent to the issuance of
an order requiring my appearance in the prosecuting district where the c arges are pending against me,

Defendant

aa?

Date Defense Counsel
